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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                     ROME DIVISION


Willie Charles Townsend,
                                       Criminal Action No.
                        Petitioner,    4:12-cr-00009-5

v.                                     Civil Action No.
                                       4:19-cv-00254
United States of America,
                                       Michael L. Brown
                        Respondent.    United States District Judge

________________________________/

                                 ORDER

      Petitioner Willie Charles Townsend pled guilty to two counts:

(1) conspiracy to commit armed robbery and (2) using and carrying a

firearm in furtherance of an attempted robbery in violation of 18 U.S.C.

§ 924(c). (Dkt. 177.) He was sentenced to ninety-six months for Count

One to be followed by eighty-four months for Count Two. (Dkt. 185.) In

2019, the Supreme Court found 18 U.S.C. § 924(c)’s residual clause to be

unconstitutionally vague. United States v. Davis, 139 S. Ct. 2319, 2336

(2019). The Eleventh Circuit applied that ruling retroactively. See In re

Hammoud, 931 F.3d 1032, 1038 (11th Cir. 2019).
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     Petitioner was one of several defendants the government

investigated and charged in this case. (Dkt. 1.) Those defendants were

all charged with the same crimes and all pled guilty.1 (See, e.g., Dkts.

193; 196.) Four of the co-conspirators have now moved for a resentencing

because the remaining time on their sentence is for a charge the Supreme

Court found unconstitutional. (See Dkts. 369; 371; 376; 388.) The co-

conspirators have filed nearly identical motions. (Id.) The government

has responded with a nearly identical response, arguing the petitioners

waived their right to collaterally attack the sentence and procedurally

defaulted their claims. (Dkts. 374; 375; 378; 390.) Ruling on the habeas

motion for one of Petitioner’s co-conspirators, the Court found the

petitioner could not waive this challenge and the petitioner had shown

cause and prejudice for the failure to bring this claim at the district court

or on direct appeal. (Dkt. 412.) The Court adopts that reasoning here.

     As a result, the Court GRANTS Petitioner Willie Charles

Townsend’s Motion to Vacate Sentence Pursuant to 28 U.S.C. § 2255

(Dkt. 371) and VACATES Petitioner’s conviction on Count 2 of the




1The government also charged two of the defendants with possession of
a firearm by a felon. (See Dkt. 1 at 5–6.)

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Indictment.   The Court will confer with counsel and schedule a

resentencing on Count 2. The Court DENIES AS MOOT Petitioner’s

Motion to Expedite Decision on Pending § 2255 Motion (Dkt. 397).

     SO ORDERED this 3rd day of June, 2020.




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